70 F.3d 637
    315 U.S.App.D.C. 76
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.DAVID &amp; HAGNER, P.C., Appellee,v.DHP, INC., formerly known as Dover Historic Properties,Inc., Appellant.
    No. 94-7188.
    United States Court of Appeals, District of Columbia Circuit.
    Oct. 18, 1995.Rehearing and Suggestion for Rehearing In Banc Denied Dec. 6, 1995.
    
      Before:  SILBERMAN, SENTELLE, and HENDERSON, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This cause came to be heard on the record on appeal from the United States District Court for the District of Columbia, and was briefed and argued by counsel.  While the issues presented occasion no need for a published opinion, they have been accorded full consideration by the Court.  See D.C.Cir.R. 36(b) (January 1, 1994).  On consideration thereof, it is
    
    
      2
      ORDERED and ADJUDGED, by this Court, that the judgment of the district court appealed from in this case is hereby affirmed substantially for the reasons stated in the district court's opinion, reported at 171 B.R. 429 (D.D.C.1994).  It is
    
    
      3
      FURTHER ORDERED, by this Court, sua sponte, that the Clerk shall withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.R. 41(a)(1) (January 1, 1994).  This instruction to the Clerk is without prejudice to the right of any party at any time to move for expedited issuance of the mandate for good cause shown.
    
    